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   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                         CASE NO. 1:13-CR-00220 AWI-BAM
11
                                 Plaintiff,            MOTION TO DISMISS INDICTMENT AND
12                                                     ORDER OF DISMISSAL
                           v.
13
     SHARON LYNNE HORTON,
14
                                 Defendants.
15

16

17          The United States of America, by and through Benjamin B. Wagner, United States Attorney, and

18 Christopher D. Baker, Assistant U.S. Attorney, pursuant to Rule 48(a) of the Federal Rules of Criminal

19 Procedure, hereby moves to recall the arrest warrant and to dismiss the Indictment as to Defendant

20 Sharon Lynne Horton, in the interest of justice, as Defendant is deceased.

21 Dated: January 28, 2014                                 BENJAMIN B. WAGNER
                                                           United States Attorney
22

23                                                 By: /s/ CHRISTOPHER D. BAKER
                                                       CHRISTOPHER D. BAKER
24                                                     Assistant United States Attorney

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      MOTION TO DISMISS INDICTMENT AND                 1
30    PROPOSED ORDER OF DISMISSAL
           Case 1:13-cr-00220-DAD-BAM Document 24 Filed 01/29/14 Page 2 of 2

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 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                        CASE NO. 1:13-CR-00220 AWI-BAM
11
                                Plaintiff,            ORDER ON MOTION TO DISMISS INDICTMENT
12
                          v.
13
     SHARON LYNNE HORTON,
14
                                Defendants.
15

16

17                                                    ORDER

18         IT IS HEREBY ORDERED in the interest of justice, that the arrest warrant in this case be

19 recalled and that the Indictment against Defendant, Sharon Lynne Horton, be dismissed.

20
     IT IS SO ORDERED.
21
     Dated: January 29, 2014
22                                            SENIOR DISTRICT JUDGE
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      MOTION TO DISMISS INDICTMENT AND                2
30    PROPOSED ORDER OF DISMISSAL
